 Fill in this information to identify the case:
 Debtor name Moreaux Transportation Services, Inc.
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                          Check if this is an
                                                LOUISIANA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Change Funding                                                                                                                                                           $55,000.00
 Group
 1820 av m
 Brooklyn, NY 11230
 High Speed Capital                                              (as of 12/2019)                                                                                          $13,635.00
 30 Broad Street 14th
 Floor
 Suite 1407
 New York, NY
 10004-2304
 Knight Capital                                                  Merchant Cash                                                                                            $43,859.79
 Funding                                                         Advance
 9 East Loockerman
 Street
 Suite 202-543
 Dover, DE 19901
 OnDeck                                                                                                                                                                   $22,094.27
 1400 Boradway,
 25th Floor
 New York, NY
 10018-5225
 Radium2 Capital,                                                3 accounts                                                                                             $148,734.62
 LLC                                                             (amount per
 300 RXR Plaza                                                   stipulated
 Uniondale, NY 11553                                             Judgment/Settlem
                                                                 ent)
 Texas Mutual                                                                                                                                                             $19,629.33
 Insurance
 P.O. Box 841843
 Dallas, TX
 75284-1843




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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